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ANDRE PARKS,

Plaintiff,
v. Cv. No. 03-2574-Ma
SGT. KENNETH BOYD, et al.,

Defendants.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed with
prejudice, in accordance with the Agreed. Order of Dismissal,
docketed August 23, 2005.

APPROVY /C

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 109 in
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Andre Parks
423 W. Ripley St.
Covington, TN 38019

Bradley W. Flippin

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

John H. Sinclair

ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202--020

Honorable Samuel Mays
US DISTRICT COURT

